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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA
THE CHEROKEE NATION,                        )
THE CHICKASAW NATION, and                   )
THE CHOCTAW NATION,                         )
                                            )
        Plaintiffs,                         )
                                            )
and                                         )
                                            )
THE CITIZEN POTAWATOMI NATION,              )
THE MUSCOGEE (CREEK) NATION,                )
THE QUAPAW NATION,                          )
THE DELAWARE NATION,                        )
THE COMANCHE NATION,                        )
THE SEMINOLE NATION,                        )
THE OTOE-MISSOURIA TRIBE, and               )
THE WICHITA AND AFFILIATED TRIBES, )
                                            )
        Plaintiffs/Intervenors,             )
                                            )
vs.                                         )   Case No. CIV-19-1198-D
                                            )
J. KEVIN STITT, in his official capacity as )
the Governor of the State of Oklahoma, and  )
ex rel. STATE OF OKLAHOMA, as the real )
party in interest,                          )
                                            )
        Defendants/Counterclaimants.        )




    OKLAHOMA’S MOTION FOR PARTIAL SUMMARY JUDGMENT
 AND BRIEF IN SUPPORT REGARDING PART 15(B) EXPIRATION OF THE
                      COMPACTS AT ISSUE
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      Pursuant to the Court’s Order of April 23, 2020 (Dkt. No. 122), Defendant/

Counterclaimant J. Kevin Stitt, in his official capacity as Governor of the State of

Oklahoma (the “Governor”) and ex rel. State of Oklahoma (the “State”) as the real party

in interest (collectively referred to as “Oklahoma”) submits this Motion for Partial

Summary Judgment and Brief in Support (the “Motion”). 1

      Oklahoma’s request is simple. The Court should find that the State-Tribal Compacts

have expired because the unambiguous language of Part 15(B) of the Compacts provides

that they expired on January 1, 2020. See Higby Crane Serv., LLC v. Nat'l Helium, LLC,

751 F.3d 1157, 1160 (10th Cir. 2014) (“Summary judgment on a contract dispute should

be granted if the contractual language is unambiguous.”). If the Compact renewed on

January 1, 2020, as the Tribes contend, the law provides that it has become terminable at

will by either party. Regardless, no governmental action of the State following the entry

of the Compacts has caused them to renew. Moreover, even if the Court should find the

specified conditions for renewal are satisfied, the Tribes are in material breach of Part

15(B) of the Compacts, by refusing to renegotiate new terms upon request by the Governor,

and by conditioning any negotiation on acquiescence to their legal position on renewal.

The unambiguous language of the Compact and applicable law as set forth below allow




1
  For purposes of this Motion, the original plaintiffs – The Cherokee Nation, The
Chickasaw Nation, and The Choctaw Nation – and the intervenor plaintiffs – The Citizen
Potawatomi Nation, The Muscogee (Creek) Nation, The Quapaw Nation, The Delaware
Nation, The Seminole Nation, and The Wichita and Affiliated Tribes – are collectively
referred to as the “Tribes.”
                                           1
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only one of these three outcomes at this time – the Compacts have expired, have become

terminable at will, or are unenforceable against the State.

       None of these outcomes will extinguish Tribal gaming in the State. Tribes will

continue to have the right to conduct class II gaming, which is not subject to the Compacts.

“Racinos,” racetracks that are now owned by Tribal affiliates, will continue to operate

electronic gaming. And, moreover, the State has entered into new gaming compacts with

the Otoe-Missouria Tribe and the Comanche Nation as the result of the court-ordered

mediation. There could be no greater evidence of the State’s intent to continue Tribal class

III gaming – i.e., “casino games, slot machines, [] horse racing,” and all other gaming not

expressly identified as class I or class II, see Navajo Nation v. Dalley, 896 F.3d 1196, 1200

(10th Cir. 2018). As long as any class III gaming is permitted in the State by anyone, all

federally recognized tribes have the right to negotiate class III gaming compacts with the

State under the Indian Gaming Regulatory Act (“IGRA”), 25 U.S.C. § 2701 et seq. IGRA’s

requirement that “the Indian tribe is the primary beneficiary of the gaming operation,” see

25 U.S.C. §§ 2702(2), 2710(d)(1)(B) & (3)(A), as well as market and economic forces, will

ensure these negotiations occur and are a win-win for all parties. Holding that the

Compacts expired on January 1, 2020 assures all parties to future Compacts of the integrity

and legal security of the bargains they negotiate, and will ensure the stability of the State’s

Tribal gaming policy pursuant to IGRA.

                                THE GRAND BARGAIN

       In 1988, Congress enacted IGRA, which “create[d] a framework for states and

Indian tribes to cooperate in regulating on-reservation tribal gaming.” See Navajo Nation,

                                              2
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896 F.3d at 1200. IGRA provides that class III gaming “shall be lawful on Indian lands

only if” certain requirements are met. 25 U.S.C. § 2710(d). One such requirement is that a

tribe enters into a “Tribal–State compact” governing such gaming. Id., § 2710(d)(3).

       In 2003, the State’s political leaders set out to find common ground among horse

racing groups, federally recognized Indian tribes, and supporters of the state lottery. A deal

was made – a “Grand Bargain” – as the various interests aligned. Supporters of education

funding would see the creation of a state lottery. Indian tribes and designated racetracks

would be authorized to conduct limited class III games; and in return, the State would

receive fees that the State determined would largely go toward education.

       As part of implementing this Grand Bargain, former Governor Brad Henry

negotiated the Model Tribal Gaming Compact (“Model Compact”) with various Indian

tribes. 2 Subsequently, the Model Compact was incorporated into legislation that became

the State-Tribal Gaming Act (the “STGA”), Oklahoma Session Laws 2004, Section 316

(S.B. 1512), codified at 3A O.S. § 261 et seq., and approved in a legislative referendum

(State Question No. 712); see generally Griffith v. Choctaw Casino of Pocola, 2009 OK

51, ¶¶ 12-14, 230 P.3d 488, 493 (describing the enactment history and process).



2
  To be clear, the Compact applies only to class III Tribal gaming in Oklahoma. The Tribes’
rights to conduct class II gaming are not the subject of the Compact or any State interest.
Based on 2016 figures, class II gaming represents approximately 40-50% of the total Tribal
gaming revenues in the State, or roughly $2 billion of $4.5 billion. https://oiga.org/wp-
content/uploads/2018/01/OIGA-Impact-Report-2016.pdf; https://omes.ok.gov/sites/g/files/
gmc316/f/publications/GameCompAnnReport2018.pdf. Additionally, this litigation does
not affect the off-track wagering compacts, previously entered into by the State and various
Tribes, authorizing those Tribes to conduct class III gaming involving pari-mutuel betting
on races in an interstate pool. See UMF 1.
                                              3
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       Of central importance to the Model Compact was the State’s offer of “substantial

exclusivity” to compacting tribes. Specifically, the Model Compact guaranteed tribes the

right to operate certain class III games with extremely limited competition from nontribal

entities – no more than 750 total electronic terminals across no more than three racetracks

– as specifically contemplated by the STGA. See 3A O.S. § 262(A); 3A O.S. § 281, Part

11(E). In exchange, signatory tribes would agree to pay fees to the State as set forth in the

Compact (the “Exclusivity Fees”). See 3A O.S. § 281, Part 11(A); see also UMF 6.

       The litigating Tribes, among others, began executing compacts with the State on

November 2, 2004, the date of the referendum. 3 In approving these compacts, the U.S.

Department of Interior (“DOI”) recognized the significant economic value to tribes

afforded by substantial exclusivity. For example, as to the Chickasaw Nation Compact,

DOI found that: (1) “the limitations on electronic games at the nearest horseracing track

will help the Nation generate an estimated additional $3.75 million over the fifteen-year

life of the Compact”; and (2) “the prohibition on non-tribal (charitable) gaming will help

the Nation generate an estimated additional $60 million over the fifteen-year course of

the Compact.” See Chickasaw Compact Approval (emphasis added). 4



3
  Each of the compacts entered by the named Tribes is referred to simply as the “Compact.”
As it relates to the Court’s consideration of the Motion, the language of each Compact is
identical to the Model Compact, 3A O.S. § 281, generally cited throughout. An exemplar
(the Chickasaw Nation Approval Letter, Compact and publication) (the “Chickasaw
Compact Approval”) can be found at https://www.bia.gov/sites/bia.gov/files/assets/as-
ia/oig/oig/pdf/idc-038409.pdf.
4
  The State never added to the number of organization licensees or expanded charitable
electronic gaming, actions which could have potentially resulted in presumptive renewal
of the Compacts.
                                             4
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       What the State offered, and the Tribes agreed to, was a guaranteed near-monopoly

to develop and grow class III gaming operations. 5 However, this period of substantial

exclusivity had an expiration date. Part 15(B) of the Compact provides:

       This Compact shall have a term which will expire on January 1, 2020,
       and at that time, if organization licensees or others are authorized to conduct
       electronic gaming in any form other than pari-mutuel wagering on live horse
       racing pursuant to any governmental action of the state or court order
       following the effective date of this Compact, the Compact shall automatically
       renew for successive additional fifteen-year terms; provided that, within one
       hundred eighty (180) days of the expiration of this Compact or any renewal
       thereof, either the tribe or the state, acting through its Governor, may request
       to renegotiate the terms of subsections A and E of Part 11 of this Compact.
       (Emphasis added).

At the end of 15 years (January 1, 2020), the Compact expired pursuant to the express and

unambiguous language of Part 15(B). The Compacts would automatically renew for

successive terms if – and only if – as of that date, the State had taken some affirmative act

after the effective date of the Compact that authorized electronic gaming operations by

nontribal entities.

       Part of the Grand Bargain required the Oklahoma Horse Racing Commission

(“OHRC”) to carry out various administrative functions, such as licensing of a limited

number of racetrack operators as organization licensees to conduct on-site gaming. Absent

such activities it would have been impossible to effectuate the Compact. These efforts by

the OHRC cannot constitute “governmental action of the state” referenced in Part 15(B) or

there would be no reason to have included that condition to renewal at all, as the


5
  Even that limited competition was effectively negated after commercial affiliates for the
Chickasaw and Cherokee Nations acquired Remington Park and Will Rogers Downs
respectively. In essence, all class III gaming in Oklahoma is now tribal.
                                              5
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implementation of the STGA itself as enacted (which mandated the issuance of such

licenses) would have automatically triggered successive renewals.

       There is no dispute that the State upheld its end of the Bargain regarding substantial

exclusivity, evidenced by the fact that no Tribe contended during the life of the Compact

that the State has breached Part 11. Notwithstanding, the Tribes ask this Court to ignore

the express terms of the now-expired Compact to find that the State has surrendered its

sovereign power to limit the duration of the Compacts (or to terminate them), and thus

effectively extended the Tribes’ near monopoly on class III gaming in the State in

perpetuity – contrary to applicable law.

               STATEMENT OF UNDISPUTED MATERIAL FACTS

       1.     The State and various tribes have negotiated class III gaming compacts since

IGRA was passed by Congress. See e.g., Citizen Potawatomi Nation Off-Track Wagering

Compact, approved by DOI on January 24, 1997, (the “CPN Wagering Compact”)

https://www.bia.gov/sites/bia.gov/files/assets/as-ia/oig/oig/pdf/idc-038416.pdf.

       2.     In May 2004, the Oklahoma Legislature approved the STGA (which included

the Model Compact), sending it to a vote of the people. See State’s Counterclaims [Dkt.

No. 15], ¶ 25, which was admitted by the Tribes (see, e.g., Answer, [Dkt. No. 38]); see also

Complaint [Dkt. No. 1], ¶ 1 & n.1; see also, 3A O.S. § 281.

       3.     “State Question 712” was passed, and the STGA became law on November

2, 2004. See id.; 3A O.S. § 261.

       4.     The STGA mandated the OHRC to license organization licensees

(racetracks) to conduct electronic gaming if at least four Indian tribes entered into the

                                             6
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Model Compact and such compacts were approved by DOI and published in the Federal

Register. See 3A O.S. § 262(A).

       5.     The STGA placed strict limitations on the number and location of

organization licensees that could be licensed and the number and type of electronic gaming

machines each organization licensee could operate. See 3A O.S. § 262.

       6.     The State offered the Model Compact to federally recognized Indian tribes

in 2004. See Compl., ¶ 1; see generally 3A O.S. § 281.

       7.     On January 27, 2005, DOI approval of compacts between the State and four

(4) Indian tribes was published in the Federal Register. See 70 Fed. Reg. 3942.

       8.     Each of the Compacts at issue became effective on or after the date of

publication in the Federal Register, as follows:

     Tribe                              Publication Date       Citation
     Cherokee Nation                    January 27, 2005       70 Fed. Reg. 3942
     Chickasaw Nation                   February 8, 2005       70 Fed. Reg. 6725
     Quapaw Nation                      February 8, 2005       70 Fed. Reg. 6725
     Choctaw Nation                     February 9, 2005       70 Fed. Reg. 6903
     Citizen Potawatomi Nation          February 9, 2005       70 Fed. Reg. 6903
     Muscogee (Creek) Nation            April 8, 2005          70 Fed. Reg. 18,041
     Seminole Nation                    April 26, 2005         70 Fed. Reg. 21,440
     Delaware Nation                    June 1, 2005           70 Fed. Reg. 31,499
     Wichita and Affiliated Tribes      September 12, 2006     71 Fed. Reg. 53,706

See also Exemplar Compact at footnote 3 supra.

       9.     The OHRC issued its first electronic gaming license to an organization

licensee on August 11, 2005, and, as mandated by the STGA, has issued gaming licenses

each ensuing year. See Compl., ¶ 43.




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      10.      Remington Park, now operated by a commercial affiliate of the Chickasaw

Nation, was and continues to be an organization licensee. https://chickasaw.net/News/Press-

Releases/Release/Governor-Anoatubby-says-State-of-Chickasaw-Nation-1037.aspx;

https://chickasaw.net/Our-Nation/Locations/Remington-Park.aspx. Will Rogers Downs,

now operated by a commercial affiliate of the Cherokee Nation, was and continues to be an

organization    licensee.   See   http://www.cherokeeobserver.org/2004/cherokee_casino_

purchases_will_rogers_down.htm;       https://www.cherokeecasino.com/will-rogers-downs.

These tribal affiliates were the only organization licensees licensed to conduct class III

gaming on January 1, 2020. See Compl., ¶¶ 43, 54.

      11.      The State has not repealed the STGA. See 3A O.S. §§ 261-282.

      12.      Since 2004, the State has not amended the STGA to authorize organization

licensees or others to conduct electronic gaming. See 3A O.S. §§ 261-282. There have been

four minor amendments to the STGA since 2004 (none of which authorized electronic

gaming by organization licensees):

               a.     S.B. No. 556 (2005) – Permitting manufacturers and distributors to
                      make and store the player terminals used for class III gaming pursuant
                      to the STGA;

               b.     S.B. No. 984 (2007) – Allowing for player terminals in smoking areas;

               c.     H.B. No. 1836 (2017) – Removing certain restrictions on weekly
                      hours of operation for previously authorized gaming at Racinos
                      (which by this time were owned by tribal affiliates); and

               d.     H.B. No. 3375 (2018) – Allowing certain non-electronic gaming (e.g.,
                      dice and roulette) by compacting tribes, but expressly excluding such
                      non-electronic gaming by organization licensees.


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       13.    On July 5, 2019 (within 180 days of January 1, 2020), the Governor sent a

letter to compacting tribes invoking Part 15(B) of the Compacts. See Counterclaims, ¶ 36;

Answer, ¶ 36 (admitting in pertinent part). The tribes did not respond to the letter.

       14.    On August 13, 2019, the Governor sent another letter designating Attorney

General Mike Hunter as lead negotiator and proposing a September 3, 2019 meeting. See

Counterclaims, ¶ 39; Answer, ¶ 39 (admitting existence and accuracy of quotes from letter).

       15.    On August 28, 2019, the tribes sent a letter acknowledging that the Compact

allowed “State or Tribal governments to request a Part 11 renegotiation.”                See

Counterclaims, ¶ 40; Answer, ¶ 40 (admitting in pertinent part). The tribes expressly stated:

“We continue to look forward to a substantive proposal from the State regarding that part

of the compact which may be renegotiated. We will consider such a proposal, however,

only when the State of Oklahoma affirms the automatic renewal of the [Compact].” Id.

(emphasis added); see also Answer, ¶ 43 (quoting pertinent language).

       16.    Attorney General Hunter meet with various tribes, including the litigating

Tribes, on October 28, 2019, to discuss potential resolution.            Such efforts were

unsuccessful. Answer, ¶ 46; see also Complaint, ¶ 53, 55; https://www.governor.ok.gov/

static-assets/documents/gamingcompacts/110519_Tribe_Letter.pdf.

                          ARGUMENT AND AUTHORITIES

       The sole question before the Court on this Motion is the interpretation of Part 15(B)

of the Compacts. The Grand Bargain resulted in Compacts with an express 15-year term

that expired on January 1, 2020. The Tribes’ interpretation of automatic renewal for


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successive terms, results in a Compact that can be terminated after 15 years by either party.

Even then, renewal could only occur if the State changed the status quo after it became

effective but before its expiration. This did not happen. Moreover, the Tribes refused to

renegotiate with the State as requested by the Governor (and required by the Compacts),

thus foreclosing the Tribes’ right to enforce the renewal of the Compact. Thus, Oklahoma

is entitled to partial summary judgment.

I.     Gaming Compacts are Subject to Rules of Contract Interpretation.

       Federal courts generally treat compacts as a form of contract. Pueblo of Santa Ana

v. Kelly, 104 F.3d 1546, 1556 (10th Cir. 1997), quoting Texas v. New Mexico, 482 U.S.

124, 128 (1987) (“‘[a] Compact is, after all, a contract’”); Pueblo of Isleta v. Grisham, No.

CV 17-654 KG/KK, 2019 WL 1429586, at *11 (D.N.M. Mar. 30, 2019) (“A tribal-state

gaming compact under IGRA is ‘a form of contract’…”). 6

       It remains a legal document that must be construed and applied in accordance
       with its terms. There is nothing in the nature of compacts generally or of this
       Compact in particular that counsels against rectifying a failure to perform in
       the past as well as ordering future performance called for by the Compact.

Texas v. New Mexico, 482 U.S. at 128 (citations omitted).

       When interpreting Indian gaming compacts, including the specific Compact at issue

here, federal courts apply federal common law principles of contract interpretation. Citizen



6
  While there is authority suggesting that certain compacts may hold a dual contract-statute
status, state-tribal compacts are not subject to congressional approval, eliminating the
concern. See Arizona v. Tohono O'odhom Nation, No. CV11-0296-PHX-DGC, 2011 WL
2357833, at *10 (D. Ariz. June 15, 2011), aff'd sub nom. Arizona v. Tohono O'odham
Nation, 818 F.3d 549 (9th Cir. 2016).

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Potawatomi Nation v. Oklahoma, 881 F.3d 1226, 1239 (10th Cir.), cert. denied, 139 S. Ct.

375, 202 L. Ed. 2d 286 (2018) (citing Pauma Band of Luiseno Mission Indians v.

California, 813 F.3d 1155, 1163 (9th Cir. 2015)) (“General principles of federal contract

law govern ... compacts, which were entered pursuant to IGRA.”).

       There is also room for state contract law principles to apply, in particular: (1) where

a specific provision relates to state law, rather than federal law, see Citizen Potawatomi

Nation, 881 F.3d at 1239 n.18, discussing Pueblo of Santa Ana v. Kelly, 104 F.3d 1546,

1557–59 (10th Cir. 1997); and (2) where state and federal interpretive provisions do not

conflict. See id. (noting Oklahoma contract law mirrors federal common law); Cachil Dehe

Band of Wintun Indians of Colusa Indian Cmty. v. California, 618 F.3d 1066, 1073 (9th

Cir. 2010); United States v. Turley, 878 F.3d 953, 956–57 (10th Cir. 2017).

       Certainly, “[a] contract must be discerned within its four corners, extrinsic evidence

being relevant only to resolve ambiguity in the contract.” Citizen Potawatomi Nation, 881

F.3d at 1239 (quoting Tohono O’odham Nation, 818 F.3d at 560-61). However, the

Compacts at issue were derived from the Model Compact, which was included as part of

the STGA. Courts interpret contracts originating in legislation by reference to the

underlying statute. See, e.g., Barseback Kraft AB v. United States, 121 F.3d 1475, 1480–

81 (Fed. Cir. 1997) (construing agreement in light of underlying legislation); Franconia

Assocs. v. United States, 61 Fed. Cl. 718, 731 (2004) (“the contracts here originated in

legislation passed by Congress, requiring the court to consider that legislation in construing

them.”). Additionally, the Compacts explicitly adopt various portions of the STGA, which,

in turn, rely upon other portions of the legislative scheme, as well as other Oklahoma

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statutes outside the STGA. See, e.g., 3A O.S. § 281, Parts 3.4, 3.5, 3.23, 4(B), 5(J), 11(F),

13(D), 15(D). Similarly, the Compacts incorporate portions of IGRA, 18 U.S.C. §§ 1166-

1168, and pertinent administrative regulations. See, e.g., 3A O.S. § 281, Introduction, Parts

2.5, 3.18, 5(B), 5(F), and 15(D).

       Contracting parties can and frequently do incorporate external materials by

reference. New Moon Shipping Co. v. MAN B & W Diesel AG, 121 F.3d 24, 30 (2d Cir.

1997) (contracts subject to federal common law “may validly incorporate by reference

terms from other documents or agreements”); see also Walker v. Builddirect.Com Techs.

Inc., 2015 OK 30, 349 P.3d 549, 554 (“A contract may include a separate writing or

portions thereof, if properly incorporated by reference.”); 11 Williston on Contracts §

30:25 (4th ed. 1999). Incorporating such materials is also consistent with courts’

application of technical terms for specialized industries in unambiguous contracts. See

Astro-Space Labs., Inc. v. United States, 470 F.2d 1003, 1009 (Ct. Cl. 1972); 15 O.S. § 161

(“Technical words are to be interpreted as usually understood by persons in the

profession…to which they relate...”).

       Additionally, gaming compacts, unlike normal contracts, require Secretarial

approval 7 and publication in the Federal Register before taking effect. Secretarial approval

or “deemed approved” letters may condition the Secretary’s approval and/or sever a

particular provision. Such letters thus become a part of the compact, which must inform



7
  The Secretary of Interior is authorized to disapprove a compact if it violates IGRA or
federal law; a compact is deemed approved if the Secretary does not act within 45 days.
See 25 U.S.C. §§ 2710(d)(8)(A-C).
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the Court’s analysis of its terms, rather than extrinsic evidence. For example, Part 15(D)

was severed from the Compacts when approved by DOI, thus altering the terms of the

Compacts. See e.g., Chickasaw Compact Approval.

       Finally, courts have already interpreted portions of the Compact, which define the

viability of compact provisions. See e.g., Griffith, 230 P.3d at 493; Citizen Potawatomi

Nation, 881 F.3d at 1228; Choctaw Nation of Oklahoma v. Oklahoma, 724 F. Supp. 2d

1182 (W.D. Okla. 2010).

       Therefore, the Court must look to the four corners of the Compact itself in

interpreting the language utilized in the contract. The Court may apply federal common

law principals governing the interpretation of contracts, state law for issues involving

specific provisions relating to a state law, external materials that are specifically referenced

in the contract, and in the case of the Compacts, Secretarial approval documents to achieve

a more complete understanding and interpretation of the language utilized in the Compact.

II.    The Plain Language of Each Compact Requires Enforcement of the Fifteen-
       Year Term, Expiring January 1, 2020.

       The Grand Bargain provided the Tribes with a 15-year head start but did not create

an endless Tribal monopoly on class III gaming in the State. Part 15(B) begins: “This

Compact shall have a term which will expire on January 1, 2020…” (emphasis added).

Part 15(C) provides: “This Compact shall remain in full force and effect until the sooner

of the expiration of the term or until the Compact is terminated by mutual consent of the

parties.” (emphasis added). Thus, while Part 15(B) provided the date certain of expiration

and the limited condition for renewal, Part 15(C) ensured that the Compact would run until


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January 1, 2020, unless the parties mutually agreed to terminate it earlier. There are several

other references in the Compact to “the term of the Compact” or substantially similar

language, further evidencing that the parties intended to create obligations of limited

duration. See, e.g., 3A O.S. § 281, Parts 5(A), 6(A)(1), 11(E). 8 These terms are

unambiguous, and the Court must apply the most basic of contractual principles to

determine the parties’ intent, i.e., that “the language of a contract is to govern its

interpretation.” See Citizen Potawatomi Nation, 881 F.3d at 1239 n.19 (quoting 12 O.S. §

154).

        Part 15(B) continues with a “condition,” which – if satisfied as of January 1, 2020

– states that “the Compact shall automatically renew for successive additional fifteen-year

terms” (emphasis added). In other words, if the interpretation advanced by the Tribes is

applied, a renewal at the end of the original term means that the Compact is renewed every

fifteen years thereafter, regardless of any future state action or the continued conduct of

authorized gaming at the time of any subsequent renewal. The Tribes’ position on renewal

means the Compact is of indefinite duration and leaves the State without any means to exit

the Compact. 9

        Under basic rules of contract construction, “[the] court will construe the Compact

to give meaning to every word or phrase.” Citizen Potawatomi Nation, 881 F.3d at 1239


8
  The DOI also understood that the parties intended for the Compact to have a “fifteen-year
life.” See Chickasaw Compact Approval, supra.
9
  Pursuant to Part 15(C), the Compact is subject to termination upon mutual consent of the
parties on or before (i.e., “sooner” than) January 1, 2020, but there is no provision allowing
for termination upon renewal. As discussed infra, an agreement, with an indefinite term,
becomes terminable at will by either party.
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(citing United States v. Brye, 146 F.3d 1207, 1211 (10th Cir. 1998)). However, “[t]hat a

contract would run for five years, terminate, and be in need of renewal – whether

automatically or otherwise – belies any contention that it was to run in perpetuity. A

contract that runs forever has no need for renewal.” Preferred Physicians Mut. Mgmt.

Grp., Inc. v. Preferred Physicians Mut. Risk Retention Grp., Inc., 961 S.W.2d 100, 104

(Mo. Ct. App. 1998) (emphasis added).10 Courts should eschew an interpretation that

makes a material provision in a contract superfluous.

       The State plainly has the power under IGRA to include a durational limit in any

State-Tribal compact. See Chemehuevi Indian Tribe v. Newsom, 919 F.3d 1148, 1152 (9th

Cir. 2019) (“IGRA’s plain language unambiguously permits parties to include durational

limits in compacts.”). If the parties intended for the compacts to automatically renew, they

could have drafted a provision to that effect (“Renewal-Unless”). Examples of compacts

containing such terms are discussed throughout federal case law. See, e.g., Am. Greyhound

Racing, Inc. v. Hull, 305 F.3d 1015, 1023 (9th Cir. 2002) (“The compacts provide for

automatic renewal if neither party gives the requisite notice of termination.”); Dairyland

Greyhound Park, Inc. v. Doyle, 719 N.W.2d 408, 433 (Wis. 2006) (“The Original


10
  This is wholly consistent with the general rule applied by the courts that contracts should
not be construed to create lifetime promises. M & G Polymers USA, LLC v. Tackett, 574
U.S. 427, 441 (2015); see also, Freeport Sulphur Co. v. Aetna Life Ins. Co., 206 F.2d 5, 8
(5th Cir. 1953) (“Perpetual contracts, though sometimes sanctioned, are not favored in the
law. A construction of a contract conferring a right in perpetuity will be avoided unless
compelled by the unequivocal language of the contract.”); Holt v. St. Louis Union Tr. Co.,
52 F.2d 1068, 1069 (4th Cir. 1931) (“The ordinary rule is that a construction conferring a
right in perpetuity will be avoided unless compelled by the unequivocal language of the
contract.”); Town of Readsboro v. Hoosac Tunnel & W.R. Co., 6 F.2d 733, 735 (2d Cir.
1925).
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Compacts state that the compact is ‘automatically extended’ unless either party exercises

its right of nonrenewal.”).

       The State and Tribes are no strangers to such provisions. For example, in Section 3

of the CPN Wagering Compact, approved by DOI on January 24, 1997 (and still in

existence today) (see UMF 1), the parties agreed:

       b. Term. This Compact shall have a three-year automatically-renewable term from
          the effective date. The three-year term will automatically renew unless a party
          gives notice of intent to terminate before 30 days prior to expiration of the three-
          year term.

       c. Duration. Once effective, this Compact will remain in full force and effect until
          one of the following shall occur:

          (1) The term expires pursuant to a notice of an intent to terminate;
          (2) The Compact is terminated by mutual consent of the parties;
          (3) The Potawatomi duly adopt an ordinance or resolution revoking authority
              to conduct Class III Gaming in Potawatomi Indian country as provided by
              25 U.S.C.A. § 2710(d)(2)(D);
          (4) Pursuant to a final, non-appealable judgment by a court…

       This excerpted compact language sets an initial term with an expectation of renewal

if the status quo is maintained, while providing a mechanism for termination by either

party. By contrast, the Model Compact does the opposite: it sets an initial term with the

expectation of expiration if the status quo is maintained. The State could and did allow for

the renewal of the Compacts, but only by its affirmative acts following the effective date.

While parties can negotiate for “Renewal-Unless” provisions, the Compact here contains

an “Expiration-Unless” provision. “A fundamental precept of contract law in Oklahoma

is that the law will not make a better contract than the parties themselves entered. The

judicial function of this Court is to enforce the contract as it is written.” Lee v.


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Conocophillips Co., No. CIV-14-1391-D, 2016 WL 67803, at *6 (W.D. Okla. Jan. 5, 2016)

(quoting Roye Realty & Dev., Inc. v. Watson, 1996 OK 93, ¶ 33, 2 P.3d 320, 329). Plainly,

the parties agreed to an “Expiration-Unless” provision with a 15-year expiration.

       Courts construing durational provisions in other types of contracts containing an

“Expiration-Unless” framework with “automatic renewal” have refused to interpret those

agreements to create binding perpetual obligations on the parties. For example, in

Preferred Physicians, the court analyzed the following similar provision:

       The initial term of this Agreement shall be until January 1, 1995; provided,
       however, that this Agreement shall automatically be renewed for terms of
       five (5) years thereafter, unless terminated as permitted by [this contract by
       the plaintiff for cause] or both of the parties hereto give written notice of their
       intent not to renew this Agreement[.]

961 S.W.2d at 102. While recognizing the “oddity” of the agreement’s approach to

renewal, the court nonetheless found that the unambiguous language regarding “a series of

five-year contracts [had] the practical effect [of] a perpetual contract.” Id. at 103. Because

the language was not sufficiently unequivocal to demonstrate that defendant intended to

surrender its right to impose a durational limit on its obligations, the court found that the

defendant had a legal right to terminate the contract after an initial renewal. Id. at 104; see

also H & R Block Tax Servs. LLC v. Franklin, 691 F.3d 941, 945 (8th Cir. 2012) (franchise

agreement with successive automatic renewals could not be enforced in perpetuity). Under

the Tribe’s construction of Part 15(B), as in Preferred Physicians, the State would be left

with no option to exit the Compact at any point after January 1, 2020, a wholly unfair result,

clearly inconsistent with the parties’ intent.



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III.   Contracts of Indefinite Duration are Terminable at Will by Either Party.

       Indefinite contracts are also disfavored. As stated by the Tenth Circuit, “[t]he vast

weight of authority would seem to be against enforcement of very long or indefinite term

contracts.” See, R. S. Mikesell Associates v. Grand River Dam Authority, 627 F.2d 211,

216 (10th Cir. 1980) (concurring in part; dissenting in part); see also Gen. Paint Corp. v.

Kramer, 57 F.2d 698, 703 (10th Cir. 1932). A particular concern arises in the context of

legislative action.   The “repealability” or “nonentrenchment” canon provides that

“legislators cannot make their laws irrepealable or disable themselves or their successors

from taking action…one legislature cannot bind a subsequent one...” Scalia & Garner,

Reading Law, at 278 (internal quotation/citation omitted); see also Panzer v. Doyle, 680

N.W.2d 666, 690 (Wis. 2004), abrogated on other grounds by Dairyland Greyhound Park,

Inc. v. Doyle, 719 N.W.2d 408 (Wis. 2006) (holding amendment to gaming compact

relinquishing Wisconsin’s right to withdraw from the compact unlawful as it “gave away

power delegated to [governor] so that the legislature cannot take it back”).

       To avoid forfeiture, the courts have held that contracts of indefinite terms become

terminable at will by either party. See, e.g., Miller v. Miller, 134 F.2d 583, 588 (10th Cir.

1943) (“If no period of duration is specified in a contract, and none can be inferred from

its nature and subject matter, the law infers that the parties intended such agreement to be

terminable at the pleasure of either party upon reasonable notice.”); Cont'l Am. Corp. v.

Barton, 932 F.2d 981, 1991 WL 66046, at *2 n.3 (Fed. Cir. 1991) (unpublished)

(concluding that an agreement was terminable at will based upon the rule that a contract

that contemplates “successive performances” that “are indefinite in duration can be

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terminated at the will of either party”); Dunn v. Birmingham Stove & Range Co., 1935 OK

107, 44 P.2d 88 (contract of indefinite duration is terminable at will by either party).

       The expiration provision in the Compact is a plain and unambiguous provision. It is

the starting point for construing the Compact and must be given the meaningful

significance ascribed to it by the parties. Part 15(B) expressly provides that the Compact

expires on January 1, 2020. Moreover, if the State bound itself to a contract with an

indefinite term by successive renewals triggered as of January 1, 2020 (and surrendered its

right to terminate the Compact), the Compact has become terminable at will pursuant to

prevailing law. In either event, given the unambiguous language at issue, the law simply

does not – and cannot – permit a contract extending the Compact forever with no right of

the State to terminate it.

IV.    The Renewal Provision of the Compact has not been Triggered.

       As quoted above, Part 15(B) begins: “This Compact shall have a term which will

expire on January 1, 2020…” It continues:

       and at that time, if organization licensees or others are authorized to conduct
       electronic gaming in any form other than pari-mutuel wagering on live horse
       racing pursuant to any governmental action of the state or court order
       following the effective date of this Compact, the Compact shall automatically
       renew for successive additional fifteen-year terms…

As part of the Grand Bargain, the State gave to the Tribes a drastic remedy for any

governmental action which would authorize non-Tribal gaming – an automatic extension

of the near monopoly.




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      The only fair reading of this condition that gives effect to each of the Compact’s

provisions and the Compact as whole is that the Compact expires on January 1, 2020,

unless:

   • as of January 1, 2020

   • the State, by some affirmative act that is within its constitutional power

   • that occurred following the date the Compact became effective

   • authorized nontribal electronic gaming that interfered with the 15 years of
     substantial exclusivity promised to the Tribes as part of the Grand Bargain (i.e.,
     gaming neither authorized by the STGA nor anticipated in the Compact).

      The State has taken no such affirmative act. Stated more precisely, in order for

the automatic renewal provision to be triggered, all three questions of the following test

must be answered in the affirmative:

      1.      Are organization licensees or others authorized to conduct electronic gaming
              in any form other than pari-mutuel wagering on live horse racing as of
              January 1, 2020?

      2.      Does the authority to conduct electronic gaming derive from some
              governmental action of the State or court order?

      3.      Did the action that is the source of the authority occur following the effective
              date of the compacts?

      While organization licensees are presently authorized to conduct electronic gaming

(a narrow “yes” to Question 1), by state law (another narrow “yes” to Question 2), the

State’s authorization of such operations undisputedly occurred on or before (and not

following) the effective date of each Compact (an unambiguous “no” to Question 3); thus,

the Compacts have not renewed.



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       A.     Question 1 - Are organization licensees or others authorized to conduct
              electronic gaming in any form other than pari-mutuel wagering on live
              horse racing as of January 1, 2020?

              Answer: Yes. There is no dispute that, as of January 1, 2020, organization
              licensees are authorized (as narrowly defined infra) by the STGA to conduct
              specifically defined electronic gaming in the State (or that two racetracks
              owned by commercial affiliates of the Chickasaw and Cherokee Nations are
              licensed pursuant to that authority). No “others” as the term is used in Part
              15(B) are authorized to conduct electronic gaming.

              1. “At that Time”

       When read in the context of Part 15(B) of the Compact, the phrase “at that time” is

unambiguous and clearly means on January 1, 2020. See, e.g. Fiorino v. Qwest Employees

Benefit Comm., 08CV1082 MCA/RLP, 2010 WL 11602776, at *5–6 (D.N.M. Mar. 18,

2010) (holding that the phrase “at that time” in contractual provision stating that “[w]hen

you return to pension status, you will resume the Retiree Benefits in affect [sic] for Retirees

at that time” was unambiguous and clearly meant the time the employee returns to pension

status). This phrase is not susceptible of any other interpretation. Thus, the Compacts

expired on January 1, 2020, unless, as discussed below, as of January 1, 2020, the status

quo established as of the effective date of each Compact has changed through some

affirmative act of the State.

              2. “Organization Licensees or Others”

       The terms “organization licensee” and “organizational licensee” are used

interchangeably six times in the Model Compact. The same terms are used approximately

110 times in the STGA. The lack of a definition within the STGA and the Compacts simply

reflects the preexisting definition found in previously existing portions of Title 3A,


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originally passed in 1983. There, an “‘[o]rganization licensee’ means any person receiving

an organization license.” 3A O.S. § 200.1(9). “Any person desiring to conduct a race

meeting may apply to the [OHRC] for an organization license.” 3A O.S. § 205.1(A) (eff.

Mar. 22, 1983). Detailed rules for such an application process are provided. Id.

       These statutory provisions make it clear that an “organization licensee” is simply a

person or entity licensed to conduct horse racing in the State. 3A O.S. § 200.1(A)(9). An

organization licensee may or may not be licensed to conduct pari-mutuel wagering. 3A

O.S. § 205.2. Such a licensee may or may not be licensed to conduct class III gaming

contemplated under the STGA. Regardless, the status of “organization licensee” exists only

because the statute says it exists – there is no “organization licensee” separate and apart

from the grant of that title by the method prescribed by the statute. Moreover, it is

undisputed that, as of January 1, 2020, Remington Park and Will Rogers Downs are the

only organization licensees in the State. UMF 9-10.

       The term “others,” as utilized here, would address some person or entity “other”

than the contracting parties, who did not have the status of an “organization license” but

was authorized to conduct electronic games. 11 No such “others” are authorized to conduct

electronic gaming as contemplated by Section 15(B) of the Compacts. What was not

intended – obviously – was that “others” would include Indian tribes themselves. The



11
  3A O.S. § 262(A) specifically excludes various non-organizational licensees, including
“fair associations or organizations,” which could host horse races in conjunction with
organization licensees, or cities, towns or municipalities. See also 3A O.S. § 263 (providing
for payment by certain tribes for local exclusivity “as long as the prohibition against fair
associations or organizations licensed pursuant to Section 208.2 ... remains prohibited.”).
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parties included the term “tribe,” or some variation thereof, approximately 174 times in the

Compact. Had the parties intended for “others” to include Indian tribes, they would have

said so. Additionally, reading “others” to include tribes would render the termination

provision meaningless because the Compact’s renewal provision would be triggered by the

very existence of the Compact (and thus Tribal gaming) as of January 1, 2020. Instead, the

provision of renewal (with corresponding liquidated damages) to tribes that would result

from the State acting during the 15-year term to authorize others to conduct electronic

gaming simply served as a disincentive for the State to violate the substantial exclusivity it

promised tribes during the 15-year term of the Compact.

          3. “Authorized”

       Authorized v. Licensed. The term “authorized,” as used in the Compact, should be

ascribed its plain and ordinary meaning. The Supreme Court’s recent decision in Murphy

v. Nat'l Collegiate Athletic Ass'n, 138 S. Ct. 1461 (2018), which effectively struck down

the federal law prohibiting states from authorizing sports gambling and paved the way for

legalized sports betting in the United States, is instructive. An act passed by the New Jersey

legislature repealed a state law prohibiting sports gambling at casinos and racetracks,

except as to sporting events involving a New Jersey college team or a collegiate event

taking place in the State. In asking the Court to decide whether the act “authorized” sports

gambling in violation of federal law, the parties presented different definitions of the term

“authorize” from Black’s Law Dictionary, which included both “permit” and “to empower;

to give a right or authority to act.” Id. at 1473. The Court held:



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       When a State completely or partially repeals old laws banning sports
       gambling, it “authorize[s]” that activity … The concept of state
       “authorization” makes sense only against a backdrop of prohibition or
       regulation. A State is not regarded as authorizing everything that it does not
       prohibit or regulate. No one would use the term in that way. For example, no
       one would say that a State “authorizes” its residents to brush their teeth or
       eat apples or sing in the shower. We commonly speak of state authorization
       only if the activity in question would otherwise be restricted.

Id. at 1474. In other words, in the case of gambling, which has been expressly banned by

states such as New Jersey (and Oklahoma) for years, it is the legislative act of changing

laws that prohibit gambling that “authorizes” such gaming.

       By contrast, a “license gives to the licensee a special privilege not accorded to others

and which the licensee otherwise would not enjoy.” Priddy v. City of Tulsa, 1994 OK CR

63, 882 P.2d 81, 83; see also Miller v. Gonzales, 2010 OK CIV APP 56, 239 P.3d 163, 171

n.18 (citing Black’s Law Dictionary, which defines a license as the “permission by

competent authority to do an act which, without such permission, would be illegal.”). In

Murphy, for example, the Supreme Court specifically distinguished the legislature’s act

from the licensing of the casinos and racetracks. 138 S. Ct. at 1472. In New Jersey, casinos

and racetracks were required to be licensed (for other forms of gaming) before the act

“authorized” sports gambling by repealing the law prohibiting it. Id. at 1474, 1481.

       Pursuant to the fundamental separation of powers found in Oklahoma’s

Constitution, the State authorizes certain conduct such as gambling through legislative

enactments; the executive branch administers that authority, frequently through the

issuance of licenses and permits to those who are then given a privilege or permission to

act in a manner consistent with the State’s policy. See City of Sand Springs v. Dep't of Pub.


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Welfare, 1980 OK 36, 608 P.2d 1139, 1146 (“the dichotomy between administrative acts

and legislative acts hinges upon the declaration of policy, which is a legislative function,

and the implementation of that policy, which is traditionally an administrative function.”).

       As a general rule, gambling is illegal in the State. See 21 O.S. §§ 941-988. However,

the state legislature has developed a State policy proscribing Tribal gaming and electronic

gaming by nontribal entities. As an example, Part 4 of the Compact – “Authorization of

Covered Games” – begins: “The tribe and state agree that the tribe is authorized to operate

covered games only in accordance with this Compact.” See 3A O.S. § 281, Part 4 (emphasis

added). 12 Moreover, the STGA specifically provides:

       Notwithstanding [the State’s criminal laws prohibiting gambling], the
       conducting of and participation in gaming in accordance with the provisions
       of this act or the model compact set forth in Section 281 of this title is lawful
       and shall not be subject to any criminal penalties …

3A O.S. § 262(A). Adoption of this policy is clearly a legislative function. Thus, as in

Murphy, it was through the legislative acts of the State, which made certain forms of




12
   Also, Part 8(D) reads: “Nothing in this Compact shall be deemed to authorize the state
to regulate the tribe's government.” 3A O.S. § 281, Part 8(D). Similarly, Part 11 provides:
“Nothing in this Compact shall be deemed to authorize the state to impose any tax, fee,
charge or assessment upon the tribe or enterprise except as expressly authorized pursuant
to this Compact.” Id. at § 281, Part 11(D).; see also Part 11(E) (prohibiting gaming
terminals “in excess of the number and outside of the designated locations authorized by
the State-Tribal Gaming Act.”); Part 13(D) (discussing games authorized by STGA); 3A
O.S. § 282 (Commission “is authorized to charge an application fee” and “is authorized
to assess a fee upon each organization license authorized by the [STGA].”); see also 75
O.S. § 250.3(9) (Oklahoma’s Administrative Procedures Act, the “OAPA,” defines
“license” to include “the whole or part of any agency permit, certificate, approval,
registration, charter, or similar form of permission required by law.”) (emphasis added).
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gaming by nontribal entities lawful, that such gaming was, indeed, “authorized.” See 3A

O.S. §§ 262(A), 269(1). 13

       The legislature empowered the executive branch, namely the OHRC, to administer

and implement part of this new gaming policy, by ensuring that nontribal entities properly

apply for and obtain licenses and abide by the rules and regulations established to effectuate

the legislative scheme. 14 See Okla. Admin. Code § 325:80-1-1 (“The Rules in this chapter

[the OHRC’s Gaming Licensing Requirements] establish Standards and requirements for

licensure, certification, registration, renewal and other approval under the State-Tribal

Gaming Act.”) (emphasis added). The legislature initially created the OHRC, see 3A O.S.

§§ 201(A), and authorized it to carry out the State’s policy regarding horse racing, id. §

204; Okla. Admin. Code § 325:1-1-3 (OHRC is “an administrative body” created by

statute, “whose powers and duties are prescribed by the Legislature.”). With the adoption

of the STGA, the legislature subsequently expanded the OHRC’s duties to include

licensing of nontribal entities to conduct authorized gaming under specific conditions and

limitations, i.e., those that were specifically designed to maintain and protect the substantial

exclusivity afforded to compacting tribes. The legislature mandated that the OHRC “shall

license organization licensees which are licensed pursuant to Section 205.2 of this title to



13
   Conversely, the State is afforded only such authority to regulate gaming by Indian tribes
as is supplied to it by Congress under IGRA. See Seminole Tribe of Florida v. Florida,
517 U.S. 44, 58 (1996) (“[T]he Act grants the States a power that they would not otherwise
have, viz., some measure of authority over gaming on Indian lands. [T]he Act extends to
the States a power withheld from them by the Constitution.”).
14
   Notably, the Model Compact contemplated a similar role for the Tribes – to “promulgate
any rules and regulations necessary to implement this Compact.” 3A O.S. 281, Part 5(A).
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conduct authorized gaming as that term is defined by this act pursuant to this act

utilizing gaming machines or devices authorized by this act subject to the limitations

of subsection C of this section.” See 3A O.S. § 262(A) (emphasis added). But the

legislature never authorized the OHRC to act to renew the Compact.

       Because “authorizing” electronic gaming by organization licensees is a legislative

function, only a legislative enactment (or court order, as expressly stated in the Model

Compact) after the effective date of the Compacts could trigger the automatic renewal

provision in Section 15(B). Conversely stated, subsequent administrative acts, such as the

issuance of licenses or promulgation of rules related to the same, necessary to carry out the

provisions of the STGA do not “authorize” electronic gaming—they merely license it,

offering to named licensees a privilege not enjoyed by those who are not so licensed.

       4. “Electronic Gaming”

       Part 15(B) limits the triggering action for renewal to authorization of “electronic

gaming.” As defined in the STGA:

       “Electronic gaming” means the electronic amusement game, the electronic
       bonanza-style bingo game and the electronic instant bingo game described in
       this act, which are included in the authorized gaming available to be offered
       by organization licensees.

3A O.S. § 269(8); see also, 3A O.S. § 268(B) (compacting tribe may conduct “any

electronic bonanza-style bingo game, any electronic amusement game or any electronic




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instant bingo” game meeting modified standards of electronic games that may be used by

organizational licensees). 15

       Electronic Amusement Game. “‘Electronic amusement game’ means a game that

is played in an electronic environment in which a player's performance and opportunity for

success can be improved by skill that conforms to the standards set forth in this act.” 3A

O.S. § 269(5); 3A O.S. § 281, Part 3.10; see also, §§ 270, 271(A). Further instruction on

the nature and limitations of electronic amusement games is provided in the subsections of

3A O.S. § 271(A).

       Electronic Bonanza-Style Bingo Game. “‘Electronic bonanza-style bingo game’

means a game played in an electronic environment in which some or all of the numbers or

symbols are drawn or electronically determined before the bingo cards for that game are

sold that conforms with the standards set forth in this act.” 3A O.S. § 269(6); 3A O.S. §

281, Part 3.11. Explicit details on the nature and limitations of electronic bonanza-style

bingo games are set out in 3A O.S. § 273.




15
   Electronic gaming, regardless of which of the three types, is conducted at a “player
terminal.” 3A O.S. §§ 271, 273, 274. “‘Player terminals’ means electronic or
electromechanical terminals housed in cabinets with input devices and video screens or
electromechanical displays on which players play electronic bonanza-style bingo games,
electronic instant bingo games or electronic amusement games.” 3A O.S. § 281(16); see
also 3A O.S. § 269(11). Additionally, “‘Standards’ means the descriptions and
specifications of electronic amusement games, electronic bonanza-style bingo games and
electronic instant bingo games or components thereof.” 3A O.S. § 281, Part 3(23); see also
3A O.S. §§ 269(12), 275(A); 3A O.S. § 281, Part 4(B). Such express limitations further
confirm the limited and highly technical nature of “electronic gaming” contemplated by
the STGA and the Compacts.
                                            28
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       Electronic Instant Bingo Game. “‘Electronic instant bingo game’ means a game

played in an electronic environment in which a player wins if his or her electronic instant

bingo card contains a combination of numbers or symbols that was designated in advance

of the game as a winning combination. There may be multiple winning combinations in

each game and multiple winning cards.” 3A O.S. § 269(7); 3A O.S. § 281, Part 3.12; Again,

more specific information is provided in 3A O.S. § 274.

       Each of the three terms comprising the definition of “electronic gaming” are

specifically defined and addressed in detail in the Compact. The result of the Compact’s

use of such specific and well-defined terminology ensures that the renewal provision is not

triggered unless one or more of these three specific types of games are the subject of the

State’s authorization. Forms of games and amusements that fall outside of this rubric – i.e.,

lotteries, electronic redemption games, arcades, etc. – clearly cannot trigger the automatic

renewal provision.

       B.     Question 2 - Does the authority to conduct electronic gaming derive from
              some governmental action of the State or court order?

              Answer: Yes. The only authority for organization licensees to conduct
              electronic gaming derives from governmental action in the form of the
              legislature’s enactment of the STGA, a state statute which became law in
              2004. Administrative acts of the OHRC, however, are not governmental
              actions of the State under the Compacts.

              1. “Governmental Action of the State”

       The term “State” is expressly defined in the Compact as the “State of Oklahoma.”16


16
   The Compact specifically defines “State” as “the State of Oklahoma.” 3A O.S. § 281,
Part 3(24). For example, the Compact states that the agreement is entered into between the
tribe and “the State of Oklahoma (state)” and that “[t]he State of Oklahoma is a state of the
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“Governmental action” is not. While guidance is limited, the United States Supreme Court

has held that “every action [of the federal government] within its constitutional power is

governmental action.” Graves v. People of State of New York ex rel. O’Keefe, 306 U.S.

466, 477 (1939) (emphasis added). Thus, “governmental action” means some affirmative

act that can be taken by the sovereign – here, the State – within its constitutional power.

Class III gaming for organization licensees was authorized by legislation, and legislation

alone.

         Part 11(A), in addressing “substantial exclusivity,” shares very similar language to

that contained in Part 15(B). It provides that compacting tribes must pay the Exclusivity

Fees “so long as the state does not change its laws after the effective date of this Compact

to permit the operation of any additional form of gaming by any such organization licensee,

or change its laws to permit any additional electronic or machine gaming within

Oklahoma.” Thus, Part 11(A) clearly contemplates legislative action (i.e., a change in

laws). 17 A perfunctory act by an administrative agency mandated by statute and anticipated




United States of America possessing the sovereign powers and rights of a state.” Id., Part
2(2). Subordinate agencies of the State are not included in the definition. Instead, the
Compact identifies the State’s agencies, boards and commissions specifically – and
separately – when the parties so intended. See id., Part 3(25). By specifically identifying
each of these subordinate agencies, including the OHRC, but not including them in the
definition of “state,” the parties chose to differentiate the “State” from subordinate entities.
17
   While a change in law could defeat the Tribes’ bargained-for “substantial exclusivity,”
either by allowing the nontribal entities contemplated by the STGA to expand their
operations (new forms of gaming, new locations, or more machines) or by permitting
additional licensees, the Tribes cannot contend this has occurred (having never sought to
invoke Part 11 of the Compact prior to its expiration). The State has upheld its side of the
bargain, maintaining the “substantial exclusivity” promised to compacting tribes during the
15-year term of the Compact.
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at the time of compacting is certainly neither the conduct contemplated to destroy

exclusivity nor to cause the automatic renewal of the Compact.

       Agencies of the State have a limited grant of power. See 75 O.S. § 250.2 (“In

creating agencies and designating their functions and purposes, the Legislature may

delegate rulemaking authority to executive branch agencies to facilitate administration of

legislative policy.”); 2001 OK AG 5, ¶ 3 (“An administrative agency’s power to make rules

under statutory authority is limited to the authority granted by those statutes and such rules

may not be contrary to those statutes.”) (citing Adams v. Professional Practices Comm’n,

1974 OK 88, 425 P.2d 932). The OHRC is not an executive agency created by the

constitution; therefore, it has no independent constitutional power. The OHRC acts solely

pursuant to the grant of authority given by the legislature in the STGA. See 3A O.S. §§

201(A), 204(A). The long-standing rule is that “an agency created by statute may only

exercise the powers granted by statute and cannot expand those powers by its own

authority.” Marley v. Cannon, 1980 OK 147, 618 P.2d 401, 405; see also Boydston v. State,

1954 OK 327, 277 P.2d 138, 142 (boards lack the “authority to make rules which in effect

extend their powers beyond those granted and fixed by statute.”); Adams v. Prof'l Practices

Comm'n, 1974 OK 88, 524 P.2d 932, 934.

       Rules of construction provide that any purported surrender of a state’s power in a

governmental contract, such as the power to impose durational limits on its obligations,

must be stated in unmistakable language. In Providence Bank v. Billings, 29 U.S. 514,

561-63 (1830), and Proprietors of Charles River Bridge v. Proprietors of Warren Bridge,

36 U.S. 420, 546-47 (1837), the Court adopted a canon of construction disfavoring implied

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governmental obligations in public contracts and held that “[p]ublic grants convey nothing

by implication; they are construed strictly in favor of the” sovereign. More recently, the

Supreme Court has held that, in a contract involving a sovereign state, “the reservation of

essential attributes of sovereign power is also read into contracts as a postulate of the legal

order” and “a grant of exclusive privilege is not to be implied as against the state.” Home

Bldg. & Loan Ass'n v. Blaisdell, 290 U.S. 398, 435 (1934); see also Veix v. Sixth Ward

Bldg. & Loan Ass'n of Newark, 310 U.S. 32, 38–39 (1940) (citing Blaisdell for the

proposition that “[t]he rule that all contracts are made subject to this paramount authority

was there reiterated. Such authority is not limited to health, morals and safety. It extends

to economic needs as well.”).

       More recently, the U.S. Supreme Court stated in Merrion v. Jicarilla Apache Tribe,

455 U.S. 130, 148 (1982): “[S]overeign power, even when unexercised, is an enduring

presence that governs all contracts subject to the sovereign’s jurisdiction, and will remain

intact unless surrendered in unmistakable terms.” See United States v. Cherokee Nation of

Okla., 480 U.S. 700 (1987) (a waiver of sovereign authority “will not be implied, but

instead must be ‘surrendered in unmistakable terms.’”) (quoting Bowen v. Public Agencies

Opposed to Social Security Entrapment, 477 U.S. 41, 52 (1986)). 18




18
   Notably, “Even when the Government unmistakably contracts not to exercise its
sovereign powers in otherwise permissible ways, that promise cannot be enforced by
injunction, as [Plaintiff] seeks to do here.” Biodiversity Associates v. Cables, 357 F.3d
1152, 1173 (10th Cir. 2004). This is precisely what the Tribes are requesting here, and the
Tenth Circuit has rejected.
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       Here, the legislature specifically authorized the OHRC “to issue licenses to conduct

authorized gaming to no more than three organization licensees operating racetrack

locations at which horse race meetings with pari-mutuel wagering . . . occurred in calendar

year 2001” (see 3A O.S. § 262(C)) – i.e., the Racinos that were specifically contemplated

as part of the Grand Bargain. UMF 4, see also Okla. Admin. Code § 325:80-1-1, supra

(OHRC’s licensing powers are statutorily derived). It did not delegate to the OHRC the

power to cause the Compact to renew or to bind the State to perpetual obligations.

       When the OHRC adopted regulations in 2005 to carry out the legislature’s

enactment, it made clear that an organization license to engage in electronic gaming would

be issued to a Racino based solely on the legislature’s authority as set forth in the STGA:

       (a) To qualify to hold and operate a Racetrack Gaming Operator License or
       Recipient Racetrack Gaming License, a racetrack must be licensed by the
       Oklahoma Horse Racing Commission pursuant to provisions of Title 3A of
       the Oklahoma Statutes to conduct live horse races or simulcast races and
       must meet the requirements pursuant to Title 3A and provisions of the Act
       and these Rules.

Okla. Admin. Code 325:80-7-1(a). Once such a license is issued, its renewal is non-

discretionary and perfunctory:

       (b) After initial issuance of a Racetrack Gaming Operator’s License, the
       license shall be renewed each year upon the following conditions:

              (1) the payment of the annual Racetrack Gaming Operator Licensee
       application license fee, the annual Racetrack Gaming Operator Licensee
       regulation fee and the annual Racetrack Gaming Operator Licensee’s
       Gaming Machine license fees;

              (2) the applicant has conducted the required number of live races to
       be eligible to operate Authorized Games and furnishing the [OHRC] with
       any supplementary information required by the [OHRC] or its staff; and


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              (3) the issuance of an Organization License to that applicant for the
       applicable calendar year.

Okla. Admin. Code 325:80-7-1(b) (emphasis added). Except by decision of the licensee,

only a subsequent legislative enactment could cause the renewal of a Racino’s organization

license not to occur. The Tribes place undue significance on the issuance of renewal

gaming licenses to Remington Park and Will Rogers Downs by the OHRC for the calendar

year beginning January 1, 2020. In fact, organization licensees have been authorized under

the STGA to conduct electronic gaming since January 27, 2005—the date notice of

approval of four (4) State-Tribal compacts was published in the Federal Register. Had no

licensee applied for renewal (which is now entirely within the control of two of the Tribes

(UMF 10)) or had the OHRC issued the renewal for 2020 to begin on January 2, such

authorization would still exist.

       Reading the term “State” to include subordinate agencies such as the OHRC

would effectively enable the OHRC alone to cause the Compact to renew. Indeed, the

Tribes contend that the OHRC’s non-discretionary, perfunctory issuance of a renewal

gaming license to Remington Park and Will Rogers Downs on October 17, 2019, for the

calendar year beginning January 1, 2020, did just that. No party could plausibly suggest

that the OHRC can issue a license to an entity not enumerated in the STGA or authorize an

organization licensee (now Tribal affiliates) to engage in a new form of gaming at the

Racinos not specifically authorized therein. Nor should the court adopt a construction of

the Compact that affords the OHRC this significant power, causing the Compacts to

automatically and indefinitely renew, thus binding future elected officials forever.


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       2. “Court Order”

       The term “court order” is unambiguous and should be afforded its plain meaning.

According to Black’s Law Dictionary (11th ed. 2019), an “order,” also termed a “court

order,” is defined as “[a] written direction or command delivered by a government official,

esp. a court or judge,” which “generally embraces final decrees as well as interlocutory

directions or commands.” No court order since 2004 has authorized electronic gaming by

organization licensees or other nontribal actors. 19

       C.     Question 3 - Did the action that is the source of the authority occur
              following the effective date of the Compact?

              Answer – No. The only authority for electronic gaming by organization
              licensees as of January 1, 2020, derives from the STGA, which was enacted
              on November 4, 2004. Organization licensees were authorized to conduct
              electronic gaming pursuant to the STGA as of January 27, 2005. Each of
              these dates is on or before, and not following, the earliest effective date of
              any of the Compacts with the Tribes.

       While it is undoubtedly true that organization licensees are authorized to conduct

electronic gaming as of January 1, 2020 (Question 1), and the source of such authority

unquestionably is an affirmative act of the State (Question 2), the third part of the test for

renewal is not met and thus precludes renewal. By the express terms of the Compact, the

act of the State authorizing organization licensees to conduct electronic gaming must have


19
  Some Tribes point to the court’s order in Iowa Tribe of Oklahoma v. State of Oklahoma,
5:15-CV-01379-R, 2016 WL 1562976 (W.D. Okla. Apr. 18, 2016). There, the tribe and
the State arbitrated whether the Compact authorized the tribe to use the internet to conduct
Covered Games by persons located outside the State. Id., at *1-2. The final arbitration
award found that such activity was authorized by the Compact, and, on a motion for
summary judgment, the Court affirmed the final award. Id., at *3. While the order certainly
constitutes a “court order,” it clearly does not constitute an affirmative act authorizing
nontribal gaming that would trigger the renewal clause of the Compact.
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occurred “following the effective date of the Compact.” This means that such act must

have occurred after January 27, 2005 – the earliest date any Compact became effective. 20

       The electronic gaming that can be conducted by organization licensees in Oklahoma

as of January 1, 2020, as referenced in Question 1, was and is only authorized by the STGA.

Each of the Compacts applicable here became effective between January 27, 2005, and

September 12, 2006. UMF 8. The STGA was adopted on November 2, 2004, which was

clearly before any Compact became effective. UMF 2-3. Organization licensees were

authorized to conduct electronic gaming as of January 27, 2005—the date when approval

of State-Tribal compacts with at least (4) Indian tribes was published in the Federal

Register. UMF 7. The State has taken no further action to authorize electronic gaming by

organization licensees or others since January 27, 2005. And specifically, the STGA has

not been amended to authorize electronic gaming by organization licensees or others since

2004. UMF 11-12.

       For the renewal provision to trigger, the State must take some affirmative act to

authorize electronic gaming that was not included in the STGA or necessary to effectuate

the STGA, which was in effect before the Compacts; otherwise, the phrase “following the

effective date of the Compact” becomes superfluous. Indeed, if this provision were to be

read according to the strained interpretation put forward by the Tribes (that the OHRC’s



20
   It should be noted that not all litigating Tribes are equally positioned. The act of the State
must have occurred following the effective date of an individual Tribe’s Compact. For
example, if this Court determines the initial licensing performed by the OHRC in 2005 was
the triggering event, then any Compact that was not in effect at that time would not be
eligible for renewal.
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issuance of licenses for 2020 – which it was mandated to do under the STGA – is the

triggering event), the only way that renewal could be avoided would be for the State to

have repealed the STGA during its stated 15-year term. No reasonable interpretation would

require such an absurdity. See 15 O.S. § 154 (“The language of a contract is to govern its

interpretation, if … [it] does not involve an absurdity.”).

       The STGA specifically mandated the issuance of licenses by the OHRC. It

specifically contemplated the promulgation of rules to regulate and enforce the STGA. It

specifically authorized the placement and operation of 750 electronic games at the Racinos.

UMF 5. These activities were authorized by the State – but they were done so on or before

the effective date of any Compact. And, indeed, the Compact itself not only recognized

such legislative enactments and implementing regulations, but it expressly incorporated

them by reference. See 3A O.S. § 281, Part 13(D). Absent a legislative enactment to the

contrary, organization licensees are necessarily authorized to conduct electronic gaming

under the STGA as of January 1, 2020. When the status quo is maintained, pursuant to the

express terms of Part 15(B), the Compact expires on January 1, 2020.

       The only source of authority for electronic gaming by organization licensees as of

January 1, 2020, is the STGA. No other authority exists. And because the STGA was

enacted before the Compacts were first effective, the condition for renewal is not present.

Plainly, the Compacts have not renewed.




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V.     The State Should be Excused from Continued Performance of the Compacts
       Because of the Tribes’ Material Breach of “Clause 3” of Part 15(B).

       As discussed throughout, Part 15(B) provides that the Compacts will expire on

January 1, 2020. However, Part 15(B) also includes a “proviso”: 21

       provided that, within one hundred eighty (180) days of the expiration of this
       Compact or any renewal thereof, either the tribe or the state, acting through
       its Governor, may request to renegotiate the terms of subsections A and E of
       Part 11 of this Compact. (Emphasis added.)

       The State timely invoked Part 15(B)’s proviso by the request of the Governor, but

the Tribes refused to renegotiate, unless and until the State conceded its legal position on

expiration. UMF 13-16. The Compact simply does not permit the Tribes to condition their

performance under Part 15(B)’s duty to negotiate on the State’s acquiescence to their legal

position that the Compact has renewed. No such condition exists in Part 15(B). The Tribes’

refusal to participate in good faith renegotiations of the Compact constitutes a material

breach thereof. See Enron Fed. Sols., Inc. v. United States, 80 Fed. Cl. 382, 396 (2008)

(“[a] breach is material when it relates to a matter of vital importance, or goes to the essence

of the contract…”); see also Restatement (Second) of Contracts § 241 cmt. e. (a party’s

“good faith” is “a significant circumstance in determining whether the failure is material.”).

       Pursuant to federal common law, a material breach of a contract by one party

excuses future performance of that contract by the other party. See Hansen Bancorp, Inc.

v. United States, 67 Fed. Cl. 411, 423–24 (2005); see also Restatement (Second) of


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   “[A] proviso is a clause that introduces a condition by the word provided.” Antonin
Scalia & Bryan A. Garner, Reading Law (2012) at 154 (emphasis in original). “[A] proviso
in a legal instrument conditions only the principal matter that it qualifies….” PROVISO
CANON, Black's Law Dictionary (11th ed. 2019).
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Contracts, § 237 (“[I]t is a condition of each party's remaining duties to render

performances to be exchanged under an exchange of promises that there be no uncured

material failure by the other party to render any such performance due at an earlier time.”).

“A basic statement of the law applicable to [the issue of material breach] is: a party who

materially breaches a contract relieves the non-breaching party from all of the non-

breaching party’s contract obligations to the breaching party.” Enron Fed. Sols., Inc. v.

United States, 80 Fed. Cl. 382, 398 (2008).

       A material failure of performance constitutes a breach that discharges the
       injured party from performance. Such a breach “amount[s] to the non-
       occurrence of a constructive condition of exchange,” and justifies the injured
       party’s suspension of performance and termination of the contract.

Resolution Tr. Corp. v. Fed. Sav. & Loan Ins. Corp., 25 F.3d 1493, 1501 (10th Cir. 1994)

(citations omitted); see also Webco Indus., Inc. v. Diamond, No. 11-CV-774-JHP-FHM,

2012 WL 5995740, at *10 (N.D. Okla. Nov. 30, 2012) (“Under Oklahoma law, ‘it is the

general rule that a contract must be performed according to the terms of the agreement

before a party can have any right of action.’ [T]he party seeking recovery ‘has the burden

of showing that the contract was performed according to its terms.’”) (citations omitted);

Stoltz, Wagner & Brown v. Cimarron Expl. Co., 564 F. Supp. 840, 850 (W.D. Okla. 1981)

(“If a party seeking recovery [is] unable or unwilling to perform his portion of the contract,

then said party cannot require performance by the other party.”) (emphasis added).

       The relief requested by the Tribes here includes a declaration that the Compacts

have renewed and the State, among other things, be precluded from denying the Tribes’

rights under the Compacts “as renewed on January 1, 2020.” See Complaint, Prayer for


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Relief, ¶ 1(d), (e). But the Tribes are not entitled to demand future performance by the State

under one clause of Part(B), providing for “automatic renewal,” while themselves refusing

to comply with “Clause 3” of Part 15(B), requiring renegotiation. As a result of their refusal

to comply with the express terms of the Compact, the Tribes cannot meet their burden of

showing that they performed Part 15(B) according to its terms, and thus cannot enforce the

“automatic renewal” provision of Part 15(B). The law does not permit a party to enforce

certain favorable provisions in a contract while refusing to comply with other material

terms. The Court should not enforce the Compact so as to require the State to continue to

perform its obligations for successive terms when the Tribes themselves have already

refused to comply with the express terms of the very same section of the very same

Compact. The Court should find that the State is excused from future performance under

the Compact and that the Compacts should be treated as unenforceable or terminated.

                                      CONCLUSION

       Oklahoma is entitled to partial summary judgment regarding the issue of expiration

of the Compacts. Construed as a whole under applicable law and rules of interpretation,

the Compacts: (1) expired on January 1, 2020, pursuant to the unambiguous language of

Part 15(B), and were not renewed; (2) if renewed for successive terms, as argued by the

Tribes, took on an indefinite duration as of January 1, 2020, and became terminable at will;

and/or (3) cannot be enforced against the State after January 1, 2020, because of the Tribes’

material breach of Part 15(B).




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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2020, I electronically transmitted the attached
document to the Clerk of Court using the Electronic Filing System for filing. Based on the
records currently on file in this case, the Clerk of Court will transmit a Notice of Electronic
Filing to those registered participants of the ECF System.


                                           s/Phillip G. Whaley
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